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      Counterclaimants Backgrid USA, Inc.,
 12   Splash News and Picture Agency, LLC, and
      Xposure Photo Agency, Inc.
 13
 14                        UNITED STATES DISTRICT COURT

 15                      CENTRAL DISTRICT OF CALIFORNIA

 16   ENTTECH MEDIA GROUP LLC,               Case No.: 2:20-cv-06298 JWH (Ex)
                                             Hon. John W. Holcomb
 17                 Plaintiffs,
                                             CORPORATE DISCLOSURE
 18         v.
                                             STATEMENT
 19   OKULARITY, INC.; JON NICOLINI;
      BACKGRID USA, INC.; SPLASH
 20   NEWS AND PICTURE AGENCY,               Complaint Filed: July 15, 2020
 21   LLC; AND XPOSURE PHOTO
      AGENCY, INC.
 22
                    Defendants.
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 27
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                             CORPORATE DISCLOSURE STATEMENT
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  1         Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1, the
  2   undersigned counsel for Plaintiff Backgrid USA, Inc.; Splash News and Picture
  3   Agency, LLC and Xposure Photo Agency, Inc. (“Backgrid”) certify and state as
  4   follows:
  5         Backgrid has no parent corporation, and no publicly held company owns 10%
  6   or more of its stock;
  7         The parent company of Splash News and Picture Agency, LLC is Splash News
  8   and Picture Agency Holdings, Inc., formerly known as SilverHub Media US Inc. and
  9   Splash News and Picture Group Limited. No publicly held company owns 10% or
 10   more of its stock;
 11         Xposure Photo Agency, Inc. has no parent corporation, and no publicly held
 12   company owns 10% or more of its stock;
 13
 14   Dated: February 11, 2021             ONE LLP
 15
                                           By: /s/ Joanna Ardalan
 16                                            Joanna Ardalan
 17                                            Peter R. Afrasiabi
                                               David W. Quinto
 18
 19                                             Attorneys for Defendants and
                                                Counterclaimants
 20                                             Backgrid USA, Inc.; Splash News and
 21                                             Picture Agency, LLC, Xposure Photo
                                                Agency, Inc.
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                              CORPORATE DISCLOSURE STATEMENT
